                              IN THE UNITED STATES DISTRICT COURT
                             FOR THE MIDDLE DISTRICT OF TENNESSEE
                                       NASHVILLE DIVISION

KAYLA GORE, et al. ,                             )
                                                 )
          Plaintiffs,                            )
                                                 )
             v.                                  )               No. 3:19-cv-0328
                                                 )
WILLIAM BYRON LEE, et al.,                       )
                                                 )
                  Defendants.                    )

                                                ORDER

          In further response to the Motion to Ascertain status (Doc. No. 106), the Court provides

the following update:

          The Court is aware that the parties have been kept waiting far too long for decision-

making from this Court, and they have been forced to draw on far more reserves of patience than

they should have. The Court can assure them, however, that this is not the result of the

undersigned’s lack of diligence or attention to the docket. Nor is it due a lack of concern about

this case or the issues it presents; far to the contrary.

          The parties can expect that within two weeks, they will be provided by the Court with a

fulsome discussion of the issues that will serve to advise the parties of exactly where this matter

stands.

          IT IS SO ORDERED.



                                                            _________________________________
                                                            ELI RICHARDSON
                                                            UNITED STATES DISTRICT JUDGE




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